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|N THE UN|TED STATES COURT
FOR THE SOUTHERN D|STR|CT OF TEXAS

HANKAN|ER VENTURES, L.P.

v. C|V|L ACT|ON NO. 4;15-CV-OO431
MARKEL |NTERNATIONAL
lNSURANCE COMPANY, LTD,
PROACTIVE CLAIMS SERV|CE, lNC.,
AND GULF COAST CLA!MS
SERV|CE CF HOUSTON, |NC.

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BE iT REMEMBERED that on this day came on to be heard the Motion to

 

Dismiss of P|aintitf, HANKAMER VENTURES, LP, and it appeared to the Court that
said Motion was meritorious and should be granted Aocordingly, it is

ORDERED, ADJUDGED and DECREED that this suit against GULF COAST
CLAiMS SERV|CE OF HOUSTON, |NC., on|y, is hereby dismissed; that Plaintiff,
HANKAMER VENTURES, LP, take nothing by reason of this suit of and from
Defendant, GULF COAST CLA|MS SERV|CE OF HOUSTON, |NC., oniy, and that
said Defendant be dismissed without prejudice it is further,

ORDERED, ADJUDGED and DECREED that court costs be taxed against the

parties incurring same.

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